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     County, et al. and Rancho San Juan Opposition
13   Coalition, et al.
14
15                                    UNITED STATES DISTRICT COURT

16                                 NORTHERN DISTRICT OF CALIFORNIA

17
18                                                                        CASE NO. C 06-01407 JW
                                                                          CASE NO. C 06-01730 JW
19                                                                        CASE NO. C 06-02202 JW
20   IN RE COUNTY OF MONTEREY INITIATIVE                                  CASE NO. C 06-02369 JW
     MATTER, and
21                                                                        MELENDEZ PLAINTIFFS’ AND
                                                                          RANCHO SAN JUAN OPPOSITION
22   IN RE MONTEREY REFERENDUM.                                           COALITION PLAINTIFFS’ NOTICE
                                                                          OF MOTION AND MOTION FOR
23                                                                        SUMMARY JUDGMENT
24
25                                                                        Judge: Hon. James Ware
26                                                                        Ctrm: 8
                                                                          Date: February 27, 2007
27                                                                        Time: 9:00 a.m.

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          Case 5:06-cv-01407-JW Document 50 Filed 02/07/07 Page 2 of 3



 1   TO ALL PARTIES HEREIN AND THEIR ATTORNEYS OF RECORD:
 2            PLEASE TAKE NOTICE that on February 27, 2007, at 9:00 a.m., or as soon thereafter as
 3   the matter may be heard, before the Honorable James Ware, in Courtroom 8, 280 South 1st Street,
 4   San Jose, California, 95113, Plaintiffs WILLIAM MELENDEZ, KEN GRAY, JYL LUTES,
 5   CAROLYN ANDERSON, and LANDWATCH MONTEREY COUNTY, and Plaintiffs RANCHO
 6   SAN JUAN OPPOSITION COALITION, CITIZENS FOR RESPONSIBLE GROWTH, and JULIE
 7   ENGELL will and hereby do move for summary judgment pursuant to Federal Rule of Civil
 8   Procedure 56. In light of the recent Ninth Circuit en banc decision in Padilla v. Lever, 463 F.3d
 9   1046 (9th Cir. 2006) (en banc), which held that Section 203 of the Voting Rights Act does not apply
10   to private recall petitions because they are not “provided” by the State, the Voting Rights Act claims
11   alleged in these consolidated actions have no merit. Plaintiffs therefore request that the Court grant
12   their motion for summary judgment, dismissing the Rangel v. County of Monterey action with
13   prejudice, ordering the County Defendants to submit the Referendum measure at issue in the In re
14   Monterey Referendum action to a vote of the electorate at the June 5, 2007, county election, and
15   remanding the Melendez v. Board of Supervisors action to state court for resolution of the remaining
16   state law claims.
17            This Motion is made in accordance with the Court’s order dated December 27, 2006, and the
18   parties’ stipulated briefing schedule filed February 5, 2007. This Motion is based upon this Notice
19   of Motion, upon the Memorandum of Points and Authorities in Support of Motion for Summary
20   Judgment, upon the Declaration of Fredric D. Woocher and the exhibits attached thereto, upon the
21   Declaration of Chris Fitz, upon the Proposed Order Granting Plaintiffs’ Motion for Summary
22   Judgment, and upon any further briefing and oral argument regarding this Motion.
23   //
24   //
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     In re County of Monterey Initiative Matter (Case Nos. C 06-01407 JW , C 06-01730 JW )
     In re Monterey Referendum (Case Nos. C 06-2202 JW , C 06-02369 JW )
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        Case 5:06-cv-01407-JW Document 50 Filed 02/07/07 Page 3 of 3



 1   DATE: February 7, 2007                                     Respectfully submitted,
 2                                                              STRUMWASSER & WOOCHER LLP
                                                                Fredric D. Woocher
 3                                                              Michael J. Strumwasser
 4                                                              Bryce Gee

 5
                                                                By                     /s/
 6                                                                             Fredric D. Woocher
 7                                                              Attorneys for Plaintiffs LandWatch Monterey
                                                                County, et al. and Rancho San Juan Opposition
 8                                                              Coalition, et al.
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